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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


ERIN WHELAN,

                      Plaintiff,                       Case No.: 1:12-cv-00291

               -against-
                                                       NOTICE OF SETTLEMENT
NORTHSTAR LOCATION SERVICES, LLC,

                      Defendant.



       NOW COMES the Plaintiff, Erin Whelan, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been

reached and is in the process of finalizing settlement, which Plaintiff anticipates will be

finalized within the next 40 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set

on calendar for the present matter.


                                             RESPECTFULLY SUBMITTED,

                                             By: /s/ Adam T. Hill
                                             Adam T. Hill
                                             KROHN & MOSS, LTD.
                                             10 N. Dearborn St. Fl. 3
                                             Chicago, IL 60602
                                             312-578-9428
                                             ahill@consumerlawcenter.com
                                             Attorneys for Plaintiff.
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                           CERTIFICATE OF SERVICE

     I hereby certify that on May 17, 2012, I electronically filed the foregoing Notice

     of Settlement with the Clerk of the Court by using the CM/ECF System. A copy

     of said Notice was submitted to Linda Leising, counsel for defendant, by way of

     USPS at the below address.

     Linda Leising

     Northstar Location Services, LLC

     4285 Genesee Street

     Cheektowaga New York 14225-1943



                                                  By: /s/ Adam T. Hill
                                                      Adam T. Hill
                                                      Attorney for Plaintiff
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